Case 4:07-cv-05944-JST Document 2843-15 Filed 09/12/14 Page 1 of 5




                      Exhibit 14
Case 4:07-cv-05944-JST Document
  Case3:07-cv-05944-SC          2843-15Filed03/17/14
                        Document2452     Filed 09/12/14Page1
                                                         Pageof24of 5
Case 4:07-cv-05944-JST Document
  Case3:07-cv-05944-SC          2843-15Filed03/17/14
                        Document2452     Filed 09/12/14Page2
                                                         Pageof34of 5
Case 4:07-cv-05944-JST Document
  Case3:07-cv-05944-SC          2843-15Filed03/17/14
                        Document2452     Filed 09/12/14Page3
                                                         Pageof44of 5
Case 4:07-cv-05944-JST Document
  Case3:07-cv-05944-SC          2843-15Filed03/17/14
                        Document2452     Filed 09/12/14Page4
                                                         Pageof54of 5
